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Proposed Co-Counsel for Debtors and
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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY


In re:                                                       Chapter 11

WEWORK INC., et al.,                                         Case No. 23-19865 (JKS)

                                    Debtors. 1               (Joint Administration Requested)


           CERTIFICATION OF JOSHUA A. SUSSBERG IN SUPPORT OF
    APPLICATION FOR PRO HAC VICE ADMISSION OF JOSHUA A. SUSSBERG, P.C.

         Joshua A. Sussberg, of full age, hereby certifies as follows:

         1.       I am an attorney-at-law duly admitted to practice before the courts of the State of

New      York.        Through       my     professional      corporation,     Joshua      A.    Sussberg,     P.C.

(the “Professional Corporation”), I am a partner in the firm of Kirkland and Ellis LLP, counsel

for WeWork Inc., and its affiliated debtors and debtors in possession (the “Debtors”). I submit



1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
     principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
     in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
     Beaverton, OR 97005.
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this Certification in support of the accompanying Application for the Professional Corporation’s

admission pro hac vice.

       2.      I was admitted to practice in the State of New York in 2004, the United States

District Court for the Northern District of Illinois in 2012, the United States District Court for the

Southern District of New York in 2015, the United States Court of Appeals for the Second

Circuit in 2023, and the United States Court of Appeals for the Fifth Circuit in 2018.

       3.      I am in good standing before the courts in which I am admitted, and I have not

been disbarred, suspended or disciplined by any court or administrative body. The name and

address of the office maintaining the roll of members in good standing for the state of New York

bar is Appellate Division, 1st Department, 27 Madison Avenue, New York, NY 10010. The

name and address of the office maintaining the roll of members in good standing for the United

States District Court for the Southern District of New York bar is Southern District of New

York, 500 Pearl Street, New York, New York 10007. The name and address of the office

maintaining the roll of members in good standing for the United States Court of Appeals for the

Second Circuit is Thurgood Marshall U.S. Courthouse, 40 Foley Square, New York, NY 10007.

The name and address of the office maintaining the roll of members in good standing for the

United States Court of Appeals for the Fifth Circuit is 600 S. Maestri Place, Suite 115,

New Orleans, LA 70130.

       4.      The Debtors filed the within Application for the Professional Corporation’s pro

hac vice admission in these matters due to my familiarity with the facts and circumstances

relevant to its interests. If the Application is granted, I agree to abide by this Court’s local rules

and to submit myself to the disciplinary jurisdiction of this Court.




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       5.     I hereby designate the following member of the bar of this Court with whom the

Court and opposing counsel may communicate regarding these cases: Michael D. Sirota, Esq.

       6.     For the foregoing reasons, I respectfully request the Professional Corporation’s

application for admission pro hac vice be granted.

       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.




                                            Joshua A. Sussberg, P.C.
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                                            New York, New York 10022
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DATED: November 7, 2023




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